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  1 Paul S. Chan – State Bar No. 183406
       pchan@birdmarella.com
  2 Ashley  D. Bowman – State Bar No. 286099
       abowman@birdmarella.com
  3 Jong-min Choi – State Bar No. 329474
       jmchoi@birdmarella.com
  4 BIRD,  MARELLA, BOXER, WOLPERT, NESSIM,
    DROOKS, LINCENBERG & RHOW, P.C.
  5 1875 Century Park East, 23rd Floor
    Los Angeles, California 90067-2561
  6 Telephone: (310) 201-2100
    Facsimile: (310) 201-2110
  7
    Attorneys for Plaintiff Li Dong
  8
  9                              UNITED STATES DISTRICT COURT
 10           CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
 11
 12 LI DONG, an individual,                          CASE NO. 8:21-cv-01913
 13                     Plaintiff,                   COMPLAINT FOR:
 14               vs.                                (1) BREACH OF FIDUCIARY
                                                         DUTY OWED TO MEMBERS
 15 EASTERN INTERNATIONAL
    CORPORATION, LLC, a limited                      (2) INSPECTION DEMAND – CAL.
 16 liability company, HUI PENG, an                      CORP. CODE § 17704.10
    individual,
 17
                 Defendants.                         DEMAND FOR JURY TRIAL
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                         PLAINTIFF LI DONG’S COMPLAINT AND DEMAND FOR JURY TRIAL
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  1               Plaintiff Li Dong (“Dong” or “Plaintiff”) complains and alleges the following
  2 against Defendants Eastern International Corporation, LLC (“Eastern”) and Hui
  3 Peng (“Peng”) (collectively “Defendants”):
  4                                         INTRODUCTION
  5               1.    This action for breach of fiduciary duty and demand for inspection of
  6 corporate records stems from Defendant Peng’s ongoing and deliberate misuse of
  7 Defendant limited liability company Eastern as a vehicle for her fraudulent and
  8 unlawful conduct, in direct contravention of the best interests of Eastern, and of
  9 Dong’s minority membership interest in Eastern.
 10               2.    Peng and Dong made a joint decision to form Eastern International
 11 Corporation, LLC more than 15 years ago, and then acquired the company’s assets
 12 in large part with funds provided by Dong. In the time that has elapsed since
 13 Eastern’s formation, Peng has taken actions not only to rob Dong of his rightful
 14 10% membership interest in Eastern, but also to misuse Eastern to perpetrate fraud,
 15 conversion, and misappropriation of funds, and to deny Dong his rights as a
 16 minority unitholder to inspect Eastern’s books and records in order to assess Peng’s
 17 (mis)management of the company. Dong brings this action to recover monetary
 18 damages for the significant and ongoing financial injuries resulting from Peng’s
 19 misconduct, and to demand to inspect Eastern’s books to fully assess and curtail
 20 Peng’s continued mismanagement and misuse of Eastern and its assets.
 21                                  JURISDICTION AND VENUE
 22               3.    The Court has subject matter jurisdiction over this civil action pursuant
 23 to 28 U.S.C. § 1332(a), because Plaintiff Li Dong is a citizen of a foreign state and
 24 Defendants Peng and Eastern are citizens of this State and/or another state, and the
 25 amount in controversy exceeds $75,000.
 26               4.    Venue is proper in this district pursuant to 28 U.S.C. § 1391(b)(1)-
 27 (b)(2).
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                         PLAINTIFF LI DONG’S COMPLAINT AND DEMAND FOR JURY TRIAL
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  1                                           THE PARTIES
  2               5.    Plaintiff Li Dong is a citizen of Singapore residing in China and/ or
  3 Singapore at all times relevant in this action. Dong holds a 10% membership
  4 interest (expressed in membership units) in Defendant Eastern.
  5               6.    Plaintiff is informed and believes, and thereupon alleges, that
  6 Defendant Eastern is, and at all times relevant hereto was, a limited liability
  7 company organized and existing under the laws of California with its principal place
  8 of business at 19751 Descartes, Foothill Ranch, Orange County, California.
  9               7.    Plaintiff is informed and believes, and thereupon alleges, that
 10 Defendant Hui Peng is an individual who, since 2017, has resided in Lexington,
 11 Massachusetts and Orange County, California. Peng was the 90% unitholder of
 12 Defendant Eastern at the time of its incorporation and, notwithstanding the unlawful
 13 conduct alleged herein, remains the holder of no more than a 90% membership
 14 interest in Eastern.
 15               8.    Plaintiff is further informed and believes, and thereupon alleges, that at
 16 all times relevant to this action until 2017, Defendant Hui Peng resided in Orange
 17 County, California.
 18               9.    Plaintiff is informed and believes, and on that basis alleges, that at all
 19 times mentioned herein, each and every Defendant was the agent and/or employee
 20 of each and every other Defendant, and in engaging in the conduct alleged was
 21 acting with the consent, provision, and authorization of each and every other
 22 Defendant. All actions of each Defendant alleged herein were ratified and approved
 23 by every other Defendant and/or its officer(s) or managing agent(s).
 24                                          BACKGROUND
 25                                      Incorporation of Eastern
 26               10.   In 2006, Peng and Dong, who were married at the time, decided to
 27 form an LLC in order to acquire real estate in California. Peng organized Eastern
 28 International Corporation, LLC in California that same year.
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  1               11.   Upon Peng’s request, corporate counsel drew up the LLC Operating
  2 Agreement for Eastern. The Operating Agreement states, among other relevant
  3 provisions, the following:
  4                     (a)   Peng and Dong are Eastern’s members, with Peng having a 90%
  5                     membership interest and Dong having 10%;
  6                     (b)   Peng is the company’s manager and registered agent, and as such
  7                     is required to maintain the company’s books and records and make
  8                     them available for examination by any Member at any reasonable time;
  9                     (c)   The company must keep, and the manager must maintain, written
 10                     records of all actions taken and votes made;
 11                     (d)   Interests in the company may be transferred only pursuant to a
 12                     signed Buy-Sell Agreement;
 13                     (e)   Admission of any new member requires written consent by the
 14                     new member to the terms of the Operating Agreement; and
 15                     (f)   The Operating Agreement may be amended only by a writing
 16                     signed by a majority of membership interests.
 17               12.   Eastern has not amended, rescinded, or otherwise modified the
 18 Operating Agreement since the time of its organization.
 19               13.   In 2006, shortly after Eastern’s formation, Eastern purchased its first
 20 and only real estate property, a commercial building located at 19751 Descartes in
 21 Foothill Ranch, Orange County, California (the “Foothill Ranch Property”), for
 22 about $4.9 million. Eastern made a down payment of approximately $900,000 for
 23 the property, consisting primarily of funds Dong provided to Peng to effect the
 24 transaction. Eastern obtained a mortgage to pay the remaining balance of the
 25 property. Eastern still owns the Foothill Ranch property and, as described more
 26 fully below, paid off the remaining mortgage balance in 2020 using funds
 27 misappropriated by Peng.
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  1                                   FACTUAL ALLEGATIONS
  2                                Peng’s Mismanagement of Eastern
  3               14.   As Eastern’s 90% unitholder and managing Member, among other
  4 roles, Peng was and is entrusted with the responsibility to conduct financial and
  5 business transactions on behalf of the Eastern, for the benefit of Eastern and its
  6 members, and Peng was and is required to maintain accurate records of those
  7 transactions. However, since at least 2020, and likely earlier, Peng has neglected
  8 those responsibilities altogether.
  9               15.   Peng has failed to maintain accurate records of Eastern’s assets,
 10 expenses, or financial transactions, as reflected by her total ignorance of Eastern’s
 11 financial condition or transactions. Peng has averred that she has no idea of
 12 Eastern’s revenues, profits, or losses over the last several years, and does not know
 13 if it paid distributions to any of its Members. She does not know when she last
 14 examined Eastern’s bank balances and transactions or if she even did so in 2021;
 15 does not know how much cash the company possesses; and does not know how
 16 much its primary asset, the Foothill Ranch Property, is worth.
 17               16.   Peng has further failed to maintain any separation between her own
 18 personal assets and those of Eastern. Since at least January 2020, and likely earlier,
 19 Peng has used Eastern’s funds as her own personal funds, paying for her personal
 20 living, travel, legal, and entertainment expenses with Eastern’s company funds.
 21 Indeed, Peng has further averred that she is not certain which of the millions of
 22 dollars of personal and family expenses she incurred since January 2020 were paid
 23 from Eastern’s company bank accounts, and which were paid from her personal
 24 accounts.
 25                     Peng and Eastern’s Fraudulent and Unlawful Conduct
 26               17.   Peng’s mismanagement of Eastern’s business and financial transactions
 27 has gone far beyond mere negligence or incompetence, constituting conduct that is
 28 plainly unlawful, since at least January 2020. Until 2010, Peng owned 100% of the
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                         PLAINTIFF LI DONG’S COMPLAINT AND DEMAND FOR JURY TRIAL
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  1 shares of a company named Leoch Battery Corporation (“Leoch Battery”). In 2010,
  2 Peng sold all her shares in Leoch Battery to Catherine Holdings International
  3 Company, Limited (“Catherine Holdings”), a subsidiary of parent company Leoch
  4 International Technology, Ltd. (“LITL”), a now-public company of which Dong is
  5 Chairman and majority shareholder. After selling her Leoch Battery shares in 2010,
  6 Peng remained the CFO of Leoch Battery until in or around December 2019. Leoch
  7 Battery has leased the Foothill Ranch Property from Eastern from the time Eastern
  8 acquired the property in 2006 until the present; other than the lease agreement,
  9 however, there have been no other business contracts or agreements between the
 10 companies.
 11               18.   As the Managing Member of Eastern and CFO of Leoch Battery, Peng
 12 was authorized to conduct financial transactions on behalf of and for the benefit of
 13 both companies.
 14               19.   In late 2019, LITL made the decision to remove Peng as CFO of Leoch
 15 Battery due to her mismanagement. LITL informed Peng in January 2020 that she
 16 was being removed as CFO of Leoch Battery. The day after being informed that she
 17 was removed as the CFO of Leoch Battery, Peng surreptitiously transferred more
 18 than $5 million from Leoch Battery’s company bank accounts to Eastern’s bank
 19 accounts and her own personal accounts. Although Leoch Battery repeatedly
 20 demanded the return of the funds and filed still-pending litigation against Peng and
 21 Eastern for these unauthorized transfers, Peng refused to return the funds.
 22               20.   To the contrary, Peng has used Eastern and its bank accounts to
 23 transfer, conceal, and otherwise dissipate nearly all of the funds that Peng and
 24 Eastern converted from Leoch Battery, and continues to use Eastern, its bank
 25 accounts, and its property to do so, for Peng’s personal benefit and against the
 26 interests of Eastern and its other members. Among other things, Peng used the
 27 funds converted from Leoch Battery and Eastern’s accounts to make the following
 28 personal payments and purchases in less than two years since January 2020:
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                         PLAINTIFF LI DONG’S COMPLAINT AND DEMAND FOR JURY TRIAL
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  1                      $1.2 million for mortgage payoffs for two personal residences located
  2                        in Orange County, California;
  3                      $665,000 mortgage payoff for the Foothill Ranch Property;
  4                      $1.6 million in personal legal fees to litigate Peng’s divorce
  5                        proceedings against Mr. Dong and various cases against Mr. Dong and
  6                        Leoch Battery;
  7                      More than $150,000 to lease personal residences;
  8                      More than $170,000 to lease and purchase new luxury cars, including a
  9                        Tesla and a Mercedes;
 10                      $118,000 on private tutoring, college consulting, and sports for Peng’s
 11                        children;
 12                      $80,000 on home furnishings and appliances;
 13                      $50,000 on clothes and ski equipment;
 14                      $40,000 on dining out and entertainment; and
 15                      $35,000 on family vacations.
 16               21.      Although Peng used Eastern and its bank accounts to receive and
 17 dissipate the funds she converted from Leoch Battery, Peng did so for her own
 18 benefit rather than Eastern’s. Peng used virtually all of the converted funds that
 19 passed through Eastern to pay for her own personal debts and expenses, and not for
 20 any purpose benefitting Eastern.
 21               22.      Rather than benefit Eastern, Peng’s conduct in using Eastern as a
 22 vehicle to convert and distribute funds unlawfully taken from Leoch Battery put
 23 Eastern at risk by subjecting it to liability for Peng’s unlawful conduct. In fact,
 24 Peng’s misuse of Eastern and its bank accounts resulted in a civil complaint brought
 25 by Leoch Battery asserting claims against Eastern for conversion and unjust
 26 enrichment, pending in Orange County Superior Court.
 27               23.      Peng continues to use Eastern and its bank accounts to distribute and
 28 dissipate funds she unlawfully converted from Leoch Battery for her own personal
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                            PLAINTIFF LI DONG’S COMPLAINT AND DEMAND FOR JURY TRIAL
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  1 benefit, and contrary to the interests of Eastern. By using the converted funds to pay
  2 off the Foothill Ranch Property, which is titled to Eastern, Peng also continues to
  3 use Eastern as a vehicle to retain, conceal, and unjustly benefit from the funds she
  4 converted from Leoch Battery.
  5           Peng and Eastern’s Purported Transfer of Dong’s Membership Units
  6               24.   Since the formation of Eastern in 2006, Dong has held a 10%
  7 membership interest in Eastern. Dong never sold, gifted, transferred, abandoned, or
  8 otherwise relinquished his membership interest in Eastern, nor did he ever agree or
  9 state an intention to do so.
 10               25.   In May 2021, after becoming aware of the extent of Peng’s
 11 mismanagement and misuse of Eastern and its assets, Dong demanded to inspect
 12 Eastern’s books in accordance with his rights as a minority Member. Peng and
 13 Eastern refused Dong’s request, asserting for the first time that Dong did not hold
 14 any membership interest in Eastern. Peng and Eastern subsequently contended, in
 15 written discovery and other written communications among the parties, that Peng
 16 holds a 98% membership interest in Eastern and Peng and Dong’s adult son, Lichi
 17 Dong, holds the remaining 2%.
 18               26.   Eastern’s tax filings for 2019, which Peng submitted in 2020 after the
 19 conversion from Leoch Battery and resulting initiation of litigation referenced
 20 above, state that Peng holds a 98% membership interest in Eastern and Lichi Dong
 21 holds 2%. These self-serving tax filings are the only documents suggesting any
 22 change in membership interest in Eastern since its formation. Dong is informed and
 23 believes, and thereon alleges, that there does not exist – and Defendants have not
 24 identified – any document affirming or even suggesting that Dong consented to give
 25 up his membership interest in Eastern or transfer his interest to Peng and Lichi
 26 Dong.
 27               27.   Dong is not aware of any other document or agreement purporting to
 28 divest him of his 10% membership interest in Eastern and/or transfer or re-allocate
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                         PLAINTIFF LI DONG’S COMPLAINT AND DEMAND FOR JURY TRIAL
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  1 his membership interest, but to the extent one exists, such document or agreement is
  2 was created without Dong’s knowledge or consent and, therefore, is invalid.
  3               28.   Dong is not aware of when Defendants first sought to take possession
  4 of and/or transfer Dong’s membership interest in Eastern to Peng and Lichi Dong.
  5               29.   However, since 2019 and possibly earlier, Defendants have wrongfully
  6 claimed and exercised control over Dong’s membership units, allocating his 10%
  7 interest to Peng and Lichi Dong, without Dong’s consent and, until recently, without
  8 his knowledge.
  9               30.   Defendants have continued to refuse Dong’s requests to inspect
 10 Eastern’s books, obtain copies of its tax documents, and exercise Dong’s other
 11 rights as a minority member to information about Eastern’s activities and finances.
 12                                      CAUSES OF ACTION
 13                                    FIRST CAUSE OF ACTION
 14                                    (Breach of Fiduciary Duty)
 15                                     (Against Defendant Peng)
 16               Dong realleges and incorporates herein by reference each and every allegation
 17 set forth in the preceding paragraphs.
 18               31.   As the 90% unitholder and managing member of Eastern, Peng owed
 19 Eastern and its members a duty a loyalty under former Corp. Code section 17153
 20 and Corp. Code 17704.09 and a duty of care in the conduct of the limited liability
 21 company under former Corp. Code section 17153 and Corp. Code section 17704.09.
 22               32.   Peng breached these duties by, among other things:
 23                     (a)   Refusing Dong’s reasonable requests to inspect Eastern’s books
 24                     and records;
 25                     (b)   Purporting to claim and/ or transfer Dong’s 10% membership
 26                     interest in Eastern without his knowledge or consent, and without any
 27                     written agreement as required by Eastern’s Operating Agreement, for
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                         PLAINTIFF LI DONG’S COMPLAINT AND DEMAND FOR JURY TRIAL
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   1                     Peng’s benefit and the benefit of third-parties and against the interests
   2                     of Eastern and Dong;
   3                     (c)   Misusing Eastern, its bank accounts, and its property to
   4                     recklessly, intentionally, knowingly, and unlawfully convert, maintain,
   5                     conceal, and dissipate funds Peng unlawfully transferred from Leoch
   6                     Battery; and
   7                     (d)   Misusing substantially all of Eastern’s assets – as well as funds
   8                     converted from Leoch Battery – for Peng’s benefit and against
   9                     Eastern’s and Dong’s interests, to pay for Peng’s and her family’s
  10                     personal expenses, including vacations, luxury cars, private tutoring,
  11                     and personal real estate holdings.
  12               33.   As a direct and proximate result of Peng’s breach, Dong has been
  13 damaged by, among other things, loss of his membership interest in Eastern and its
  14 assets, including the Foothill Ranch property and funds received and/or held by
  15 Eastern, and loss of the value of Eastern and its assets that were wasted by Peng.
  16 Dong has sustained damages in an amount in excess of the jurisdictional minimum
  17 as a result of Peng’s breach of fiduciary duty, the full extent of which has not yet
  18 been fully ascertained and will be proven at trial.
  19               34.   In breaching her fiduciary duty to Dong, Peng has acted maliciously,
  20 willfully, wantonly, fraudulently, and with a conscious disregard of Dong’s rights,
  21 such that Dong is entitled to punitive and exemplary damages against Peng in an
  22 amount sufficient to punish Peng and deter such conduct in the future.
  23               35.   Peng’s fraud, mismanagement, and misuse of Eastern and its assets, as
  24 well as her conduct depriving Dong of his membership interest in Eastern and its
  25 assets, are ongoing and continue to inflict irreparable injury on Dong. Therefore, an
  26 injunction preventing Peng and Eastern from selling, abandoning, or otherwise
  27 dissipating Eastern’s assets pending resolution of this action is necessary to protect
  28 Dong from suffering further irreparable injury.
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                          PLAINTIFF LI DONG’S COMPLAINT AND DEMAND FOR JURY TRIAL
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   1                                 SECOND CAUSE OF ACTION
   2           (Demand to Inspect Corporate Reports [Cal. Corp. Code § 17704.10])
   3                                      (Against All Defendants)
   4               36.   Dong realleges and incorporates herein by reference each and every
   5 allegation set forth in the preceding paragraphs.
   6               37.   Dong holds a 10% membership interest in Eastern (expressed in
   7 membership units).
   8               38.   As alleged herein, Dong has requested, and Defendants have refused
   9 Dong’s request, to inspect Eastern’s books.
  10               39.   By refusing to permit Dong to inspect Eastern’s books, Defendants
  11 have violated Dong’s rights as a minority member pursuant to California
  12 Corporations Code § 17704.10.
  13               40.   As a result of Defendants’ conduct, Dong is entitled to an Order
  14 requiring Defendants to make Eastern’s books available for inspection by Dong
  15 pursuant to California Corporations Code § 17704.10.
  16                                      PRAYER FOR RELIEF
  17               WHEREFORE, Plaintiff prays for judgment against Defendants as hereinafter
  18 set forth:
  19               A.    For an order that Peng immediately make Eastern’s books available for
  20 inspection by Dong;
  21               B.    For compensatory damages according to proof at trial;
  22               C.    For punitive damages in an amount appropriate to punish Defendants
  23 and deter others from engaging in similar conduct;
  24               C.    For a preliminary and permanent injunction prohibiting Defendants
  25 from selling or further dissipating Eastern’s assets, including the Foothill Ranch
  26 Property, pending resolution of this suit;
  27               D.    For the establishment of a constructive trust over all of Eastern’s assets
  28 sufficient to compensate Plaintiff for the injury alleged herein;
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   1               E.   For an accounting;
   2               F.   For interest as allowed by law;
   3               G.   For attorneys’ fees and costs of suit incurred herein; and
   4               H.   For such other and further relief as the Court deems just and proper.
   5
   6 DATED: November 22, 2021                  Paul S. Chan
                                               Ashley D. Bowman
   7
                                               Jong-min Choi
   8                                           Bird, Marella, Boxer, Wolpert, Nessim,
                                               Drooks, Lincenberg & Rhow, P.C.
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                                               By:         /s/ Ashley D. Bowman
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                                                            Ashley D. Bowman
  12                                                 Attorneys for Li Dong
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   1                                  DEMAND FOR JURY TRIAL
   2               In accordance with Rule 38 of the Federal Rules of Civil Procedure, Plaintiff
   3 Li Dong respectfully demands a jury trial of all issues triable to a jury in this action.
   4
   5 DATED: November 22, 2021                   Paul S. Chan
                                                Ashley D. Bowman
   6
                                                Jong-min Choi
   7                                            Bird, Marella, Boxer, Wolpert, Nessim,
                                                Drooks, Lincenberg & Rhow, P.C.
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                                                By:         /s/ Ashley D. Bowman
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                                                             Ashley D. Bowman
  11                                                  Attorneys for Li Dong
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